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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )               CASE NO. 4:07CR98
                                           )
                    Plaintiff,             )
                                           )                 MEMORANDUM
             v.                            )                  AND ORDER
                                           )
ROLAND D. LONG,                            )
                                           )
                    Defendant.             )

      This matter is before the Court on the Motion to Withdraw (Filing No. 146) filed by

David Stickman, defense counsel for Defendant Roland D. Long. In the motion, defense

counsel represents that Mr. Long intends to proceed pro se with regard to his motion to

reduce sentence. Also before the Court is the Defendant’s Motion to Reduce Sentence -

USSC Amendment (Filing No. 138). The Court has received and reviewed the 2014 Drug

Retroactive Sentencing Worksheet (“Worksheet”) prepared and submitted by the District

of Nebraska’s Probation Office1. Therefore,

      IT IS ORDERED that:

      1.     The Motion to Withdraw (Filing No. 146) filed by David Stickman is granted;

      2.     No later than May 4, 2015, the parties shall file any objections, stipulations,

      or other statements regarding the Worksheet;

      3.     In the event that the parties do not respond by the deadline listed above, the

      Court will rule, without further notice, on the Dependant’s eligibility for a reduction

      in his sentence pursuant to the information contained in the W orksheet; and




      1
         According to the ECF Docket Sheet in this case, the Worksheet was sent to
parties on December 16, 2014.
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     4.    The Clerk of Court is ordered to mail a copy of this order and copies of Filing

     Nos. 144 and 145 to the Defendant as his last known address.


     DATED this 2nd day of April, 2015.

                                       BY THE COURT:


                                       s/Laurie Smith Camp
                                       Chief United States District Judge




                                           2
